Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 1 of 115




                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                                        MIAMI DIVISION

  NEPA WHOLESALE, INC., a Florida
  Corporation,
                                                                                Case No: pending
         Plaintiff,
  v.
                                                                         COMPLAINT
  SAFA GOODS, LLC, a Florida Limited                           JURY TRIAL DEMANDED
  Liability Company,
        Defendant.
  _________________________________/


         Plaintiff, NEPA WHOLESALE, INC., a Florida Corporation, by and through undersigned

  counsel, brings suit against Defendant, SAFA GOODS, LLC, a Florida Limited Liability

  Company, and as grounds would allege:

         1.      This action is being brought by Plaintiff to eliminate Defendant’s wrongful

  dissemination and distribution in the United States (including in this District) of “HQD CUVIE”

  vape products/electronic cigarettes that are not intended for distribution inside the United States

  and, perhaps more importantly, that interfere with Plaintiff’s exclusive right to distribute the

  “HQD CUVIE” vape products/electronic cigarettes in the United States (and in this District).

         2.      On or about September 5, 2020, Plaintiff, a high-end distributor of vape

  product/electronic cigarettes throughout the United States and in certain jurisdictions around the

  world, entered into an exclusive and evergreen distribution agreement with Shenzhen Hanquingda

  Technology Co., LTD., a manufacturer from China, for the exclusive sale and distribution of the

  “HQD CUVIE” vape products/electronic cigarettes throughout the United States. See copy of

  Exclusive Agency Sales Contract attached hereto as Exhibit “A”.




                                                                                        Page 1 of 26
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 2 of 115




         3.      As part and parcel of the exclusive nature of the Agreement, Plaintiff receives

  distinctive packaging of the product in order to distinguish it from the sale of HQD CUVIE vape

  products distributed outside of the United States. See copy of Plaintiff’s distinctive packaging of

  HQD CUVIE vape products in comparison to the infringing packaging, sold by the Defendant,

  product that is most likely distributed outside of the United States, Exhibit “B” hereto.

         4.      On or about April 2022, Plaintiff entered into a transactional relationship with

  Defendant for the first time by selling a series of vape products unrelated to the instant matter to

  Defendant. See invoices for initial purchases made by Defendant attached hereto as Exhibit “C”.

  All payments due and owing were made at Plaintiff’s offices in West Palm Beach, Florida.

         5.      On or about May 22, 2022, Plaintiff and Defendant began discussing the purchase

  of Plaintiff’s exclusively distributed “HQD” products. Plaintiff sent Defendant an invoice to this

  end as attached hereto as Exhibit “D”. Ultimately, the contemplated purchase did not occur.

         6.      At that time, Defendant was duly and specifically advised of the exclusive nature

  of Plaintiff’s distribution of the HQD vape products/electronic cigarettes. See Plaintiff’s

  promotional materials announcing Plaintiff’s exclusive rights to the HQD product attached hereto

  as Exhibit “E”. The promotional materials were created at the time Plaintiff entered into the

  Agreement with Shenzhen.

         7.      By the beginning of September, Plaintiff learned that several retailers, including

  Defendant, were selling illicit vape product, or in this case, HQD vape product not designated for

  sale in the United States. This product could only have been purchased from a source other than

  Plaintiff and contrary to Defendant’s knowledge that it could only purchase HQD/CUVIE vape

  product for distribution in the United States from Plaintiff (and/or those who purchased the

  product originally from Plaintiff).




                                                                                         Page 2 of 26
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 3 of 115




          8.       The determination of what “is” and what “is not” illicit product is easily understood.

  In addition to that set forth in Exhibit “B”, Plaintiff’s shipments come in boxes which are labeled

  as having been shipped directly from the manufacturer in China, have particular markings such a

  “tobacco”, or “menthol”, amongst other notable markings. See Plaintiff’s boxes attached hereto

  as Exhibit “F”. The images are dated October 25, 2023.

          9.       By way of example only, Defendant’s shipments come in boxes distinctively

  different than those delivered to Plaintiff; i.e. delivery labels reference shipment from other

  locations such as Dubai. See Exhibit “G”.

          10.      At or around the same time, Defendant posted and offered on its website that the

  HQD vape illicit product was available for purchase from Defendant. See a snapshot of

  Defendant’s website attached hereto as Exhibit “H”.

          11.      To add insult to injury, on or about October 31, 2023, Plaintiff’s representative

  conducted an investigation at Defendant’s warehouse and witnessed the illicit HQD product on

  Defendant’s shelf. After discussion between Plaintiff’s principal and Defendant’s principal,

  Defendant’s principal opted to forward the remaining illicit product to Plaintiff. Plaintiff received

  the product on or about November 2, 2023 as set forth in Exhibit “I”. 1

          12.      Notwithstanding Defendant’s attempts to get back in Plaintiff’s “good graces” by

  delivering to Plaintiff the illicit product Defendant purchased, it remains apparent that

  Defendant’s plan is to continue to interfere with Plaintiff’s rights both in terms of the Federal

  trademark registrations it owns, Plaintiff’s State trademark registrations, and Plaintiff’s exclusive

  contractual right to distribute HQD CUVIE product in the United States (and this District). It

  further remains apparent that it intends to compete with Plaintiff to this end. Accordingly, Plaintiff


  1
   Defendant attempted to disguise from whom and from the illicit product was being sent by placing another
  address in Port Charlotte on the label.


                                                                                                    Page 3 of 26
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 4 of 115




  has been left with no choice, but to seek relief from the Court to protect its company’s hard work,

  its brand, and its consumers.

                                  JURISDICTION AND VENUE

           13.   Plaintiff, NEPA WHOLESALE, INC., is a duly registered Florida Corporation

  authorized to do business in both Broward and Palm Beach Counties, Florida, and is otherwise sui

  juris.

           14.   Defendant, SAFA GOODS, LLC, is a duly registered limited liability company,

  authorized to do business in Broward County, Florida, and is otherwise sui juris.

           15.   This is a civil action arising from Defendant’s misuse of Plaintiff’s trademarks and

  exclusive distribution rights. The claims alleged in this Complaint arise under the Lanham Act, 15

  U.S.C.§1051 et seq., and under Florida state law.

           16.   This Court has jurisdiction over the subject matter of this action pursuant to 15

  U.S.C. §§1121 and 28 §§1331 and 1338.

           17.   This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant

  to 28 U.S.C. §1367(a).

           18.   Venue is proper in Florida pursuant to 28 U.S.C. §1391(b).

           19.   Venue is proper in the Southern District of Florida because a substantial part of the

  events or omissions giving rise to Plaintiff’s claims occurred in this judicial district, thus,

  confusion about the origin of Defendants’ products is likely to occur in this district. Upon

  information and belief, Defendant sold the illicit HQD vape products to consumers in Miami,

  Florida.




                                                                                         Page 4 of 26
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 5 of 115




          20.      This Court has personal jurisdiction over Defendant as it is located in the State of

  Florida, and it sold, marketed, advertised and distributed infringing goods or otherwise transacted

  business from the State of Florida.

          21.      More Specifically, Defendant conducts business activities in the State of Florida

  through its interactive e-commerce website located at <safagoods.com>, including the sale of

  “HQD CUVIE” product, which is accessible to consumers in this judicial district, as well as

  through its various social media pages.



                                       FACTUAL BACKGROUND

          22.      On or about September 5, 2020, Plaintiff entered into an exclusive and evergreen

  distribution agreement with Shenzhen Hanquingda Technology Co., LTD., a manufacturer from

  China, for the exclusive sale and distribution of the “HQD CUVIE” vape products/electronic

  cigarettes throughout the United States. See copy of Exclusive Agency Sales Contract attached

  hereto as Exhibit “A”.

          23.      As part and parcel of the exclusive nature of the Agreement, Plaintiff receives

  distinctive packaging of the product in order to distinguish it from the sale of HQD CUVIE vape

  products outside of the United States. See copy of Plaintiff’s distinctive packaging of HQD

  CUVIE vape products set forth in Exhibit “B” hereto.

          24.      The side-by-side comparison of the product packaging illustrates how Defendant’s

  packaging incorporates and imitates elements and the overall composition of Plaintiff’s distinctive

  HQD CUVIE Marks. 2




  2
   Moreover, the packaging shows the distinction between the product authorized for sale in the United States and that
  not authorized for sale in the United States.


                                                                                                       Page 5 of 26
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 6 of 115




         25.      As a consequence of the foregoing, Plaintiff has invested significant resources in

  developing and printing its business access the United States under the HQD CUVIE Mark and

  branded name.

         26.      It is next to impossible to enter into a store anywhere in Florida, if not the United

  States, where vapes are sold without seeing the HQD products not only being advertised on signage

  but sold therein. Thus, Plaintiff’s great expense and effort have caused vape products bearing the

  “HQD” and “CUVIE” marks to become so ubiquitous within the State of Florida that the marks

  have become famous.

         27.      On or about August 13, 2023, Plaintiff sought and obtained Florida Trademark

  Registration for HQD, Number T23000000675, said mark having been used legally, exclusively

  in connection with electronic cigarettes and oral vaporizers in many states, including but not

  limited to Florida. See Exhibit “H”.

         28.      As a consequence of the fame of the mark, as well as the Federal and State

  registrations thereon, the purchase of “HQD” electronic cigarettes and oral vaporizers in the State

  of Florida can only be effectuated through Plaintiff’s company, or Plaintiff’s companion company

  operating under the same management and control, NEPA 2 WHOLESALE LLC, owner of Florida

  Registration for HQD CUVIE PLUS, Number T23000000753. See Exhibit “I” attached hereto.

         29.      In connection with the Agreement, Plaintiff receives distinctive packaging of the

  product in order to distinguish it from the sale of HQD CUVIE vape products outside of the United

  States, said packaging bearing one of three of Plaintiff’s trademarks “CUVIE” (USPTO

  Trademark Registration Number 7165966, “CUVIE AIR” (USPTO Registration Number

  7025651), “CUVIE PLUS” (USPTO Registration Number 7025650), or “CUVIE PRO” (USPTO




                                                                                          Page 6 of 26
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 7 of 115




  Serial Number 97378110 (Allowed and pending). See copy of Plaintiff’s distinctive packaging of

  HQD vape product and registration set forth in Exhibits “J”, “K”, “L”, and “M” hereto.

         30.     Additionally, Plaintiff’s interstate trademark property interest in HQD CUVIE

  PLUS is the subject of Trademark Registrations in the States of Colorado (Registration Number

  20231905394), Georgia (Registration Number T-32037), Oklahoma (Registration Number

  13444022), Oregon (Registration Number 52681), Rhode Island (Registration Number 20230900),

  Vermont (Registration Number M0009289), and West Virginia (Registration Number

  W2023091563873-607766), with others pending. See composite Exhibit “N” attached hereto.

         31.     In addition to the foregoing, as the exclusive Distributor, the protections of

  Shenzhen’s Registration Number 5778947 for the HQD mark, inured to the benefit of Plaintiff.

  See Exhibit “O” attached hereto.

         32.     Notwithstanding the foregoing, upon information and belief, Defendant has sold

  the improperly obtained vape products/electronic cigarettes and intends to imminently sell same

  to other retailers and distributor customers.

         33.     The products advertised, offered for sale and sold by Defendant infringes upon

  Plaintiff’s rights to not only the trademarks in questions, but its contractual rights to the product

  in question.

         34.     Defendant engaged in these acts with the knowledge of Plaintiff’s rights and the

  willful intent to violate same.

         35.     Defendant’s unlawful actions have, and will continue to cause, a substantial and

  adverse effect on United States commerce.




                                                                                         Page 7 of 26
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 8 of 115




          36.    Defendant’s wrongful acts and/or willful infringements have caused, and will

  continue to cause, irreparable harm to Plaintiff unless permanently enjoined, for which Plaintiff

  has no adequate remedy at law.

          37.    Defendant has profited and will continue to profit in the future from its unlawful

  actions.

          38.    Defendant’s actions are causing and will continue to cause Plaintiff monetary

  damage in amounts presently unknown but to be determined at trial.

          39.    All conditions precedent to maintaining this lawsuit have either been waived,

  excused, or performed.

                                   COUNT I:
                       FEDERAL TRADEMARK INFRINGEMENT
                          LANHAM ACT §32, 15 U.S.C. §1114

          40.    Plaintiff realleges and reavers the allegations set forth in paragraphs one (1)

  through thirty-nine (39) as though fully set forth herein.

          41.    Plaintiff has prior rights over Defendant in and to the Marks set forth herein in the

  United States by virtue of its use of the Marks in interstate commerce and registration of the Marks

  with the USPTO.

          42.    Plaintiff’s Marks are valid, subsisting, used in commerce, and inherently

  distinctive.

          43.    Defendant’s Competing Marks, being identical, is confusingly similar to

  Plaintiff’s registered Mark.

          44.    Defendant has used the Marks on goods that are materially different than those

  authorized to be sold under said Marks in the United States.




                                                                                         Page 8 of 26
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 9 of 115




         45.      Defendant’s use of the Competing Marks is likely to cause confusion or mistake

  with Plaintiff’s registered Marks. Consumers likely will believe that Defendant’s goods and

  services are provided by, sponsored by, associated with, or otherwise affiliated with Plaintiff and

  HQD CUVIE because of Defendant’s use of the Competing Marks, which is confusingly similar

  to Plaintiff’s registered Mark.

         46.      Defendant knows that its use of the Competing Marks would cause confusion or

  mistake as to Plaintiff’s sponsorship of, association with, or affiliation with the Defendant’s goods

  and services.

         47.      Defendant’s use of the confusingly similar Competing Mark is likely to cause

  irreparable injury to Plaintiff’s registered Marks, reputation, and goodwill, the extent of this harm

  cannot be quantified, and therefore leaves Plaintiff with no adequate remedy at law.

         48.      Defendant’s use of the Competing Marks constitutes infringement of the

  Plaintiff’s registered Marks in violation of Section 32 of the Lanham Act. 15 U.S.C. §1114.

         49.      As a result of Defendant’s infringement as set forth herein, Plaintiff has been

  damaged, in that the purchasing public is likely to become confused as to the source of the goods.

         WHEREFORE, Plaintiff demands judgment against the Defendant as follows:

                  a. A preliminary and permanent injunction enjoining and restraining the

                     Defendant, its respective agents, servants, employees, officers, successors,

                     licensees, and assigns, as well as all persons acting in concert or participation

                     with each and any of them, from interfering in any manner in Plaintiff’s Florida

                     trademark, and otherwise engaging in unfair competition, to prevent further

                     damage to the Plaintiff and propagation of consumer confusion. More




                                                                                          Page 9 of 26
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 10 of 115




                       specifically, Defendant must be prohibited from utilizing the HQD and CUVIE

                       Marks in connection with its operations;

                b. An accounting for and payment of all profits that Defendant has derived from its

                   trademark infringement and unfair competition as set forth herein;

                c. All damages sustained by the Plaintiff as a result of Defendant having infringed

                   in its trademark and unfair competition as set forth herein;

                d. All costs of this action, including investigative fees;

                e. Reasonable attorney’s fees;

                f. Any and all other relief deemed necessary and appropriate under the circumstances.



                              COUNT II:
         FALSE DESIGNATION OF ORIGIN AND UNFAIR COMPETITION
                 LANHAM ACT 43(a), 15 U.S.C. §1125(a)(1)(A)

          50.      Plaintiff realleges and reavers the allegations set forth in paragraphs one (1)

   through thirty-nine (39) as though fully set forth herein.

          51.      The parties are direct competitors in the sale of vape product/electronic cigarettes.

          52.      Defendant’s use of the Marks on packaging and advertising for, and/or to identify

   the Marks, including use on packaging and in-store displays, constitutes a false designation of

   origin that has caused, or is likely to cause, confusion, mistake, and deception as to the affiliation,

   connections, or association between the Marks, all in violation of 15. U.S.C. §1125(a)(1)(A).

          53.      Upon information and belief, Defendant has infringed on Plaintiff’s trademark

   rights to the Marks in order to: compete against Plaintiff; trade on the reputation and goodwill of

   the HQD CUVIE product by causing consumer confusion and mistake; and, to deceive the public

   into believing that the HQD CUVIE products are associated with Defendant.




                                                                                           Page 10 of 26
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 11 of 115




          54.     Upon information and belief, Defendant has actual knowledge of Plaintiff’s

   ownership and prior use of the Marks and Plaintiff’s exclusive right to distribute the product and

   the Marks, and without Plaintiff’s consent, has willfully violated 15. U.S.C. §1125(a)(1)(A).

          55.     Upon information and belief, Defendant’s use of the Marks in advertising injures

   Plaintiff’s commercial interest in its reputation and reduces Plaintiff’s sales of its products. See

   Exhibit “P”.

          56.     The economic and reputational injury to Plaintiff of the infringement flow directly

   from the confusion and/or deception wrought by Defendant’s infringement of Plaintiff’ and

   trademark rights.

          57.     The economic and reputational injuries occur due to the similarity of the HQD

   CUVIE name.

          58.     Defendant’s use of the HQD CUVIE brand name confuses and/or deceives

   consumers and that confusion and/or deception causes them to withhold trade from Plaintiff by

   purchasing Defendant’s products instead of Plaintiff’s competing products.

          59.     Defendant’s use of the HQD CUVIE Brand name creates the false impression that

   Defendant’s products originate from the same source as Plaintiff’s directly competitive products.

          60.     The false impression created by Defendant's use of the HQD CUVIE brand name

   has and/or will, upon information and belief, lead consumers to purchase Defendant’s products

   on the erroneous belief that Defendant’s products are the same as, if not equivalent to, Plaintiff’s

   products.

          61.          As a direct and proximate result of the foregoing acts by Defendant, Plaintiff

   has suffered, and continues to suffer, substantial damages not yet determinable, including

   irreparable injury for which there is no adequate remedy at law. Such irreparable injury will




                                                                                        Page 11 of 26
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 12 of 115




   continue unless and until Defendant is preliminarily and permanently enjoined by the Court from

   further violation of Plaintiff’s rights, for which Plaintiff has no adequate remedy at law.

          62.      Pursuant to 15. U.S.C. §1116, Defendant should be preliminarily, and upon final

   hearing, permanently enjoined from using the Marks, or otherwise unfairly competing against

   Plaintiff or infringing upon Plaintiff’s trademark rights in the Mark Trade Dress.

          63.      Pursuant to 15. U.S.C. §1117, Plaintiff has been damages.

          WHEREFORE, Plaintiff demands judgment against the Defendant as follows:

                   a. A preliminary and permanent injunction enjoining and restraining the

                       Defendant, its respective agents, servants, employees, officers, successors,

                       licensees, and assigns, as well as all persons acting in concert or participation

                       with each and any of them, from interfering in any manner in Plaintiff’s Florida

                       trademark, and otherwise engaging in unfair competition, to prevent further

                       damage to the Plaintiff and propagation of consumer confusion. More

                       specifically, Defendant must be prohibited from utilizing the HQD and CUVIE

                       Marks in connection with its operations;

                b. An accounting for and payment of all profits that Defendant has derived from its

                   trademark infringement and unfair competition as set forth herein;

                c. All damages sustained by the Plaintiff as a result of Defendant having infringed

                   in its trademark and unfair competition as set forth herein;

                d. All costs of this action, including investigative fees;

                e. Reasonable attorney’s fees;

                f. Any and all other relief deemed necessary and appropriate under the circumstances.




                                                                                         Page 12 of 26
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 13 of 115




                                  COUNT III:
                              CLAIM FOR RELIEF
                    CONTRIBUTORY TRADEMARK INFRINGEMENT
                       LANHAM ACT §43, 15 U.S.C §1114(1)(A)

          59.       Plaintiff realleges and reavers the allegations set forth in paragraphs one (1)

   through thirty-nine (39) as though fully set forth herein.

          60.       Defendant has provided to retailer and/or distributor customers HQD CUVIE

   vape/electronic cigarettes bearing the Marks on goods that are materially different that those

   authorized to be sold under said Marks in the United States, with knowledge, expectation and/or

   intention that the retailers and/or distributors would use the Marks in connection with the sale of

   such products.

          61.       Defendant has not been granted any right to use the Marks in the United States.

          62.       The unauthorized use of the Marks by retailers and/or distributors supplied by

   Defendant has caused and/or is likely to case confusion or mistake, or to deceive regarding the

   source, sponsorship and/or affiliation of the goods imported, offered and sold by retailers and/or

   distributors supplied by Defendant.

          63.       Defendant has intentionally induced or contributed to or knowingly participated in

   the infringement of Plaintiff’s rights in the Marks by Defendant’s retailer and distributor

   customers.

          64.       Defendant has profited from the infringement of Plaintiff’s rights in the Marks by

   Defendant’s retailer and distributor customers.

          65.       Defendant’s wrongful acts and/or willful contributor infringements, for which

   Plaintiff has no adequate remedy at law, has caused, and will continue to cause damages and

   irreparable harm to Plaintiff unless permanently enjoined.




                                                                                        Page 13 of 26
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 14 of 115




          66.      Defendant is liable for contributory trademark infringement, in violation of Section

   43 of the Lanham Act, 15 U.S.C. §1114(1)(a).

          WHEREFORE, Plaintiff demands judgment against the Defendant as follows:

                   a. A preliminary and permanent injunction enjoining and restraining the

                       Defendant, its respective agents, servants, employees, officers, successors,

                       licensees, and assigns, as well as all persons acting in concert or participation

                       with each and any of them, from interfering in any manner in Plaintiff’s Florida

                       trademark, and otherwise engaging in unfair competition, to prevent further

                       damage to the Plaintiff and propagation of consumer confusion. More

                       specifically, Defendant must be prohibited from utilizing the HQD and CUVIE

                       Marks in connection with its operations;

                b. An accounting for and payment of all profits that Defendant has derived from its

                   trademark infringement and unfair competition as set forth herein;

                c. All damages sustained by the Plaintiff as a result of Defendant having infringed

                   in its trademark and unfair competition as set forth herein;

                d. All costs of this action, including investigative fees;

                e. Reasonable attorney’s fees;

                f. Any and all other relief deemed necessary and appropriate under the circumstances.

                            COUNT IV:
        VIOLATION OF FLORIDA DECEPTIVE AND UNFAIR TRADE
     PRACTICES ACT (“FDUTPA”) AND THE COMMON LAW OF FLORIDA

          67.      Plaintiff realleges and reavers the allegations set forth in paragraphs one (1)

   through thirty-nine (39) as though fully set forth herein.




                                                                                         Page 14 of 26
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 15 of 115




          68.     On or about September 5, 2020, Plaintiff entered into an exclusive distribution

   agreement with Shenzhen Hanquingda Technology Co., LTD., a manufacturer from China, for the

   exclusive sale and distribution of the “HQD CUVIE” vape products/electronic cigarettes

   throughout the United States. See copy of Exclusive Agency Sales Contract attached hereto as

   Exhibit “A”.

          69.     As part and parcel of the exclusive nature of the Agreement, Plaintiff receives

   distinctive packaging of the product in order to distinguish it from the sale of HQD vape products

   outside of the United States. See copy of Plaintiff’s distinctive packaging of HQD CUVIE vape

   products set forth in Exhibit “B” hereto.

          70.     Plaintiff, at great expense and effort, has acquired a property interest in the sale of

   the HQD and CUVIE vape products in the United States.

          71.     As a consequence of the foregoing, the purchase of “HQD CUVIE” vape product

   by companies in the United States can only be effectuated through Plaintiff’s company.

          72.     On or about May 22, 2022, Plaintiff and Defendant began discussing the purchase

   of Plaintiff’s exclusively distributed “HQD” products. Plaintiff sent Defendant an invoice to this

   end as attached hereto as Exhibit “D”. Ultimately, the contemplated purchase did not occur.

          73.     At that time, Defendant was duly and specifically advised of the exclusive nature

   of Plaintiff’s distribution of the HQD vape products/electronic cigarettes. See Plaintiff’s

   promotional materials announcing Plaintiff’s exclusive rights to the HQD product attached hereto

   as Exhibit “E”. The promotional materials were created at the time Plaintiff entered into the

   Agreement with Shenzhen.

          74.     By the beginning of September, Plaintiff learned that several retailers, including

   Defendant, were selling illicit vape product, or in this case, HQD vape product not designated for




                                                                                          Page 15 of 26
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 16 of 115




   sale in the United States. This product could only have been purchased from a source other than

   Plaintiff and contrary to Defendant’s knowledge that it could only purchase HQD/CUVIE vape

   product for distribution in the United States from Plaintiff (and/or those who purchased the

   product originally from Plaintiff).

           75.    By purchasing the HQD CUVIE vape product from a source or sources other than

   Plaintiff, whom Defendant knew to be the exclusive distributor of the HQD and CUVIE vape

   products therein, Defendant has deliberately, intentionally, and willful attempted to make an end-

   run around Plaintiff’s rights as exclusive distributor of the HQD and CUVIE vape

   products/electronic cigarettes.

          76.     Through its actions, Defendant is willfully and unfairly competing with Plaintiff.

          77.     Defendant’s actions constitute unfair competition under §501.201-203, Florida

   Statutes and the Florida common law which will greatly and irreparably damage Plaintiff.

   Defendant should be liable to Plaintiff for all profits obtained by Defendant, damages borne by

   Plaintiff, the costs of this action, including investigative fees, and reasonable attorney’s fees

   pursuant to §501.2105 and §501.211, Florida Statutes.

           78.    Plaintiff is moreover without an adequate remedy at law. As such, Plaintiff is

   entitled to, among other things, both a preliminary and permanent injunction enjoining and

   restraining the Defendant, its respective agents, servants, employees, officers, successors,

   licensees, and assigns, as well as all persons acting in concert or participation with each and any

   of them, from interfering in any manner in Plaintiff’s exclusive Sales Agency Contract, and

   otherwise engaging in unfair competition, to prevent further injury to the Plaintiff and from

   purchasing HQD and CUVIE vape products/electronic cigarettes from any other source other than

   Plaintiff.




                                                                                       Page 16 of 26
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 17 of 115




           79.      Plaintiff has retained the undersigned attorney and has agreed to pay a reasonable

   fee for his services.

           WHEREFORE, Plaintiff demands judgment against the Defendant as follows:

                 a. A preliminary and permanent injunction enjoining and restraining the Defendant,

                    its respective agents, servants, employees, officers, successors, licensees, and

                    assigns, as well as all persons acting in concert or participation with each and any

                    of them, from interfering in any manner in Plaintiff’s Exclusive Distribution

                    Agreement trademark, and otherwise engaging in unfair competition, to prevent

                    further damage to the Plaintiff from purchasing HQD and/or CUVIE vape products

                    from any other source other than Plaintiff;

                 b. An accounting for and payment of all profits that Defendant have derived from its

                    unfair competition as set forth herein;

                 c. All damages sustained by the Plaintiff as a result of Defendant having infringed

                    in its unfair competition as set forth herein;

                 d. All costs of this action, including investigative fees;

                 e. Reasonable attorney’s fees;

                 f. Any and all other relief deemed necessary and appropriate under the circumstances.

                              COUNT V:
          TORTIOUS INTERFERENCE WITH CONTRACTUAL BUSINESS
                            RELATIONSHIP

           80.      Plaintiff realleges and reavers the allegations set forth in paragraphs one (1)

   through thirty-nine (39) as though fully set forth herein.

           81.      On or about September 5, 2020, Plaintiff entered into an exclusive distribution

   agreement with Shenzhen Hanquingda Technology Co., LTD., a manufacturer from China, for the




                                                                                         Page 17 of 26
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 18 of 115




   exclusive sale and distribution of the “HQD CUVIE” vape products/electronic cigarettes

   throughout the United States. See copy of Exclusive Agency Sales Contract attached hereto as

   Exhibit “A”.

          82.     As part and parcel of the exclusive nature of the Agreement, Plaintiff receives

   distinctive packaging of the product in order to distinguish it from the sale of HQD CUVIE vape

   products outside of the United States. See copy of Plaintiff’s distinctive packaging of HQD vape

   products set forth in Exhibit “B” hereto.

          83.     As a consequence of the foregoing, the purchase of “HQD” vape product by

   companies in the United States can only be effectuated through Plaintiff’s company.

          84.     On or about May 22, 2022, Plaintiff and Defendant began discussing the purchase

   of Plaintiff’s exclusively distributed “HQD” products. Plaintiff sent Defendant an invoice to this

   end as attached hereto as Exhibit “D”. Ultimately, the contemplated purchase did not occur.

          85.     At that time, Defendant was duly and specifically advised of the exclusive nature

   of Plaintiff’s distribution of the HQD vape products/electronic cigarettes. See Plaintiff’s

   promotional materials announcing Plaintiff’s exclusive rights to the HQD product attached hereto

   as Exhibit “E”. The promotional materials were created at the time Plaintiff entered into the

   Agreement with Shenzhen.

          86.     By the beginning of September, Plaintiff learned that several retailers, including

   Defendant, were selling illicit vape product, or in this case, HQD vape product not designated for

   sale in the United States. This product could only have been purchased from a source other than

   Plaintiff and contrary to Defendant’s knowledge that it could only purchase HQD/CUVIE vape

   product for distribution in the United States from Plaintiff (and/or those who purchased the

   product originally from Plaintiff).




                                                                                       Page 18 of 26
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 19 of 115




          87.        Defendant had absolute knowledge of the contractual relationship between

   Plaintiff and Shenzhen, the manufacturer, resulting in Plaintiff’s exclusive right to distribute the

   HQD CUVIE vape products/electronic cigarettes in the United States.

          88.        Defendant knowingly and intentionally interfered with and frustrated the

   contractual relationship between Plaintiff and Shenzhen, the manufacturer, by inexplicably and

   unjustifiably purchasing the tainted HQD CUVIE vape products from a source or sources other

   than Plaintiff.

          89.        As a result of Defendant’s frustration of purpose and unjustified interference as set

   forth herein, Plaintiff has been damaged.

          90.        Plaintiff reserves the right to seek punitive damages upon the proper presentation

   of same.

          WHEREFORE, Plaintiff demands judgment against the Defendant as follows:

                a. Damages;

                b. Reasonable costs of this action;

                c. Any and all other relief deemed necessary and appropriate under the circumstances.

                            COUNT VI:
        TRADEMARK INFRINGEMENT OF A TRADEMARK FAMOUS AND
                      REGISTERED IN FLORIDA

          91.        Plaintiff realleges and reavers the allegations set forth in paragraphs one (1)

   through thirty-nine (39) as though fully set forth herein.

          92.        On or about September 5, 2020, Plaintiff entered into an exclusive distribution

   agreement with Shenzhen Hanquingda Technology Co., LTD., a manufacturer from China, for the

   exclusive sale and distribution of the “HQD CUVIE” vape products/electronic cigarettes




                                                                                           Page 19 of 26
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 20 of 115




   throughout the United States. See copy of Exclusive Agency Sales Contract attached hereto as

   Exhibit “A”.

          93.     As part and parcel of the exclusive nature of the Agreement, Plaintiff receives

   distinctive packaging of the product in order to distinguish it from the sale of HQD CUVIE vape

   products outside of the United States. See copy of Plaintiff’s distinctive packaging of HQD

   CUVIE vape products set forth in Exhibit “B” hereto.

          94.     Plaintiff also had an exclusive distribution contract for the remaining HQD

   products. Plaintiff, having expended great expense and effort developing the HQD brand within

   Florida, developed an ownership interest therein.

          95.     It is next to impossible to enter into a store anywhere in Florida where vapes are

   sold without seeing the HQD products not only being advertised on signage, but sold therein.

   Thus, Plaintiff’s great expense and effort have caused vape products bearing the “HQD” and

   “CUVIE” marks to become so ubiquitous within the State of Florida that the marks have become

   famous.

          96.     On or about August 13, 2023, Plaintiff sought and obtained Florida Trademark

   Registration for HQD, Number T23000000675, said mark having been used legally, exclusively

   in connection with electronic cigarettes and oral vaporizers in many states, including but not

   limited to Florida. See Exhibit “H”.

          97.     As a consequence of the fame of the mark, as well as the Federal and State

   registrations thereon, the purchase of “HQD” electronic cigarettes and oral vaporizers in the State

   of Florida can only be effectuated through Plaintiff’s company, or Plaintiffs companion company

   operate under the same management and control, NEPA 2 WHOLESALE LLC, owner of Florida

   Registration for HQD CUVIE PLUS, Number T23000000753. See Exhibit “I” attached hereto.




                                                                                       Page 20 of 26
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 21 of 115




           98.    On or about May 22, 2022, Plaintiff and Defendant began discussing the purchase

   of Plaintiff’s exclusively distributed “HQD” products. Plaintiff sent Defendant an invoice to this

   end as attached hereto as Exhibit “D”. Ultimately, the contemplated purchase did not occur.

           99.    At that time, Defendant was duly and specifically advised of the exclusive nature

   of Plaintiff’s distribution of the HQD vape products/electronic cigarettes. See Plaintiff’s

   promotional materials announcing Plaintiff’s exclusive rights to the HQD product attached hereto

   as Exhibit “E”. The promotional materials were created at the time Plaintiff entered into the

   Agreement with Shenzhen.

           100.   Sales by Defendant of the illicit products bearing the “HQD” or “CUVIE”

   trademarks that were not sourced from Plaintiff are in violation of §495.151, Florida Statutes and

   have caused dilution of the mark.

           101.   Plaintiff’s distinctive “HQD” Brand Marks, “HQD” Brand Trade Dress, “HQD”

   Brand Product Slogan, and the “HQD” name as detailed above, create proprietary interests.

           102.   Plaintiff’s distinctive “CUVIE” Brand Marks, “CUVIE” Brand Trade Dress,

   “CUVIE” Brand Product Slogan, and the “CUVIE” name as detailed above, create proprietary

   interests.

           103.   Defendant has deliberately and willfully attempted to trade on Plaintiff’s

   longstanding and hard-earned goodwill in its “HQD” and “CUVIE” Brand Marks, “HQD” and

   “CUVIE” Brand Trade Dress, “HQD” and “CUVIE” Brand Product Slogan, and the “HQD” and

   “CUVIE” trade names, and the reputation Plaintiff has established in connection with its vape

   products and other smoking accessories.

           104.   Defendant has also deliberately and willfully attempted to confuse consumers as

   to the origin and sponsorship of products they are selling, by utilizing Plaintiffs “HQD” and




                                                                                       Page 21 of 26
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 22 of 115




   “CUVIE” Brand Marks, “HQD” and “CUVIE” Brand Trade Dress, “HQD” and “CUVIE” Brand

   Product Slogan, and the “HQD” and “CUVIE” names, to pass said products off as if sourced from

   Plaintiff.

           105.   Defendant’s conduct is likely to have caused appreciable confusion, mistake, or

   deception as to the affiliation, connection or association of Defendant’s “HQD” Products with the

   “HQD” Brand Products produced and sold by Plaintiff, and as to the origin, sponsorship, or

   approval of Defendant’s “HQD” and “CUVIE” Products with “HQD” and “CUVIE” Brand

   Products produced and sold by Plaintiff, all in violation of Florida common law.

           106.   Defendant’s unauthorized and tortious conduct has also deprived and will continue

   to deprive Plaintiff of the ability to control the consumer perception of its products offered under

   the “HQD” and “CUVIE” Brand Marks, “HQD” and “CUVIE” Brand Trade Dress, “HQD” and

   “CUVIE” Brand Product Slogan, and the “HQD” and “CUVIE” name, placing valuable reputation

   and goodwill of Plaintiff in the hands of Defendant without permission or approval of Plaintiff.

           107.   By its actions, Defendant has infringed against Plaintiff’s “HQD” and “CUVIE”

   Brand Marks, “HQD” and “CUVIE” Brand Trade Dress, “HQD” and “CUVIE” Brand Product

   Slogan, and the “HQD” and “CUVIE” trade names, deliberately and with the intention of

   wrongfully trading on the goodwill and reputation symbolized by Plaintiff’s “HQD” and

   “CUVIE” Brand Marks, “HQD” and “CUVIE” Brand Trade Dress, “HQD” and “CUVIE” Brand

   Product Slogan, and the “HQD” and “CUVIE” names.

           108.   Upon information and belief, Defendant’s use of the “HQD” and “CUVIE” Name,

   the “HQD” and “CUVIE” Products, sold in the “HQD” and “CUVIE” packaging and box graphic

   designs, injures Plaintiff’s commercial interest in its reputation and reduces Plaintiff's sales of its

   products.




                                                                                           Page 22 of 26
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 23 of 115




          109.   As a result of Defendant’s conduct, Plaintiff has suffered substantial damages, as

   well as the continuing loss of the goodwill and reputation established by Plaintiff in its “HQD”

   Brand Marks, specifically the “HQD” Brank Trade Dress, “HQD” Brand Product slogan, and the

   “HQD” name.

          110.   The economic and reputation injury occur due to the similarity of the “HQD” and

   “CUVIE” Name, the “HQD” and “CUVIE” products, sold in the “HQD” and “CUVIE” packaging

   and box graphic designs, to the “HQD” and “CUVIE” Brand Trade Dress, and “HQD” and

   “CUVIE” Brand product slogan.

          111.   Defendant’s use of the “HQD” and “CUVIE” Names, the “HQD” and “CUVIE”

   Products, sold in the “HQD” and “CUVIE” packaging and box graphic designs, creates the false

   impression that Defendant’s products originate from the same source as Plaintiff’s competitive

   products.

          112.   Thus, Plaintiff is entitled to recover an amount equivalent to the profits that

   Defendant has derived and may continue to derive as a result of their unlawful misappropriation

   and infringement of Plaintiff’s “HQD” and “CUVIE” Brand marks, specifically the “HQD” and

   “CUVIE” brand trade dress, “HQD” and “CUVIE” brand product slogan, and the “HQD” and

   “CUVIE” names.

          WHEREFORE, Plaintiff demands judgment against the Defendant as follows:

                     a. A preliminary and permanent injunction enjoining and restraining the

                         Defendant, its respective agents, servants, employees, officers, successors,

                         licensees, and assigns, as well as all persons acting in concert or

                         participation with each and any of them, from interfering in any manner in

                         Plaintiff’s Exclusive Distribution Agreement trademark, and otherwise




                                                                                      Page 23 of 26
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 24 of 115




                          engaging in unfair competition, to prevent further damage to the Plaintiff

                          from purchasing HQD vape products from any other source other than

                          Plaintiff;

                      b. A permanent injunction requiring delivery of all unauthorized product under

                          Defendant’s possession and control to an officer of this court or the

                          Plaintiff for destruction;

                      c. An accounting for and payment of all profits that Defendant has derived

                          from its unlawful intentional infringement as set forth herein;

                      d. Treble damages to remedy damages sustained by the Plaintiff as a result of

                          Defendant having infringed upon its famous marks;

                      e. All costs of this action, including investigative fees;

                      f. Reasonable attorney’s fees;

                      g. Any and all other relief deemed necessary and appropriate under the

                          circumstances.

                           COUNT VII:
      TRADEMARK DILUTION AND INJURY TO BUSINESS REPUTATION
             PURSUANT TO § 495.151, FLORIDA STATUTES

          113.    Plaintiff realleges and reaffirms the allegations in paragraphs one (1) through

   thirty-nine (39) as though fully set forth herein.

          114.    Plaintiff is the owner of the valid, protectable trademark and/or service mark of

   HQD CUVIE. See Exhibit “A.”

          115.    Plaintiff, at great expense and effort, has acquired a property interest in the State

   of Florida in the Mark in connection with its goods.




                                                                                        Page 24 of 26
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 25 of 115




          116.    The Mark is distinctive and famous within the meaning of §495.151, Florida

   Statutes and were famous, legally and otherwise, prior to the acts committed by Defendant

   discussed therein.

          117.    Defendant has not been granted any right to the use of the Mark in the state of

   Florida.

          118.    Defendant’s use of the Competing Marks injures Plaintiff’s business reputation

   and has diluted and will continue to dilute the distinctive qualities of the Marks.

          119.    Defendant’s wrongful acts and/or willful dilution has caused and will continue to

   cause damages to Plaintiff, especially with respect to its reputation with its customers in Florida

   and beyond the state.

          120.    Defendant’s conduct has damaged Plaintiff and will, unless enjoined by the Court,

   further dilute and impair the value of Plaintiff’s Marks, reputation, and goodwill. This harm

   constitutes an injury for which Plaintiff has no adequate remedy at law.

          121.    By reason of the foregoing, Plaintiff is entitled to permanent injunctive relief

   against Defendant, restraining them and all those in active concert and participation with

   Defendant from any further acts of dilution, among other remedies as outlined below. More

   specifically, Defendant must be prohibited from utilizing the Marks for any reason whatsoever.

          WHEREFORE, Plaintiff demands judgment against the Defendant as follows:

                        a. A preliminary and permanent injunction enjoining and restraining the

                           Defendant, its respective agents, servants, employees, officers, successors,

                           licensees, and assigns, as well as all persons acting in concert or

                           participation with each and any of them, from interfering in any manner in

                           Plaintiff’s Exclusive Distribution Agreement trademark, and otherwise




                                                                                         Page 25 of 26
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 26 of 115




                         engaging in unfair competition, to prevent further damage to the Plaintiff

                         from purchasing HQD vape products from any other source other than

                         Plaintiff;

                     b. A permanent injunction requiring delivery of all unauthorized product under

                         Defendant’s possession and control to an officer of this court or the

                         Plaintiff for destruction;

                     c. An accounting for and payment of all profits that Defendant has derived

                         from its unlawful intentional infringement as set forth herein;

                     d. Treble damages to remedy damages sustained by the Plaintiff as a result of

                         Defendant having infringed upon its famous marks;

                     e. All costs of this action, including investigative fees;

                     f. Reasonable attorney’s fees;

                     g. Any and all other relief deemed necessary and appropriate under the

                         circumstances.

                                          JURY DEMAND

          Pursuant to Fed. R. Civ. P. 28, Plaintiff hereby demands a trial by jury on all issues for

   which a trial by jury may be had.

          Dated: November 6, 2023.

                                                        Respectfully submitted,
                                                        FEINSTEIN & MENDEZ, P.A
                                                         /s/ Brett Feinstein
                                                        Brett Feinstein, Esq.
                                                        Florida Bar No.: 953120
                                                        2600 S. Douglas Road, Suite 506
                                                        Coral Gables, Florida 33134
                                                        Telephone: (786) 636-8938
                                                        Facsimile: (786) 636-8941
                                                        E-mail: brett@fmpalawfirm.com



                                                                                       Page 26 of 26
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 27 of 115




                EXHIBIT "A"
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 28 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 29 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 30 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 31 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 32 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 33 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 34 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 35 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 36 of 115




                 EXHIBIT "B"
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 37 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 38 of 115




   REAL:
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 39 of 115




   REAL:
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 40 of 115




                 EXHIBIT "C"
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 41 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 42 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 43 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 44 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 45 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 46 of 115




                 EXHIBIT "D"
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 47 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 48 of 115




               EXHIBIT "E"
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 49 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 50 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 51 of 115




               EXHIBIT "F"
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 52 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 53 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 54 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 55 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 56 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 57 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 58 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 59 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 60 of 115




               EXHIBIT "G"
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 61 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 62 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 63 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 64 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 65 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 66 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 67 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 68 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 69 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 70 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 71 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 72 of 115




               EXHIBIT "H"
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 73 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 74 of 115




               EXHIBIT "I"
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 75 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 76 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 77 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 78 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 79 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 80 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 81 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 82 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 83 of 115




               EXHIBIT "J"
 Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 84 of 115




Reg. No. 7,165,966          NEPA WHOLESALE INC (FLORIDA CORPORATION)
                            4365 OKEECHOBEE BLVD
Registered Sep. 12, 2023    Bay 9
Int. Cl.: 34                WEST PALM BEACH, FLORIDA 33409
                            CLASS 34: Electronic cigarettes and oral vaporizers for smokers; Electronic cigarettes
Trademark                   for use as an alternative to traditional cigarettes; Mechanical electronic cigarettes
Principal Register          FIRST USE 7-20-2020; IN COMMERCE 7-20-2020

                            THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
                            ANY PARTICULAR FONT STYLE, SIZE OR COLOR

                            SER. NO. 97-370,310, FILED 04-19-2022
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 85 of 115



         REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

       WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
              DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.


    Requirements in the First Ten Years*
    What and When to File:


        • First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
          years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
           registration will continue in force for the remainder of the ten-year period, calculated from the registration
           date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.


        • Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
          for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


    Requirements in Successive Ten-Year Periods*
    What and When to File:

        • You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
          between every 9th and 10th-year period, calculated from the registration date.*

    Grace Period Filings*

    The above documents will be accepted as timely if filed within six months after the deadlines listed above with the
    payment of an additional fee.

    *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
    extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use (or
    Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO). The
    time periods for filing are based on the U.S. registration date (not the international registration date). The
    deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for nationally
    issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations do not file
    renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying international
    registration at the International Bureau of the World Intellectual Property Organization, under Article 7 of the
    Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the date of the
    international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the international
    registration, see http://www.wipo.int/madrid/en/.

    NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
    USPTO website for further information. With the exception of renewal applications for registered
    extensions of protection, you can file the registration maintenance documents referenced above online at
    http://www.uspto.gov.

    NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
    owners/holders who authorize e-mail communication and maintain a current e-mail address with the
    USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
    Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
    available at http://www.uspto.gov.




                                               Page: 2 of 2 / RN # 7165966
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 86 of 115




               EXHIBIT "K"
 Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 87 of 115




Reg. No. 7,025,651          NEPA WHOLESALE INC (FLORIDA CORPORATION)
                            SUITE B9
Registered Apr. 11, 2023    4365 OKEECHOBEE BLVD
Int. Cl.: 34                WEST PALM BEACH, FLORIDA 33409
                            CLASS 34: Electronic cigarettes and oral vaporizers for smokers; Electronic cigarettes
Trademark                   for use as an alternative to traditional cigarettes; Smokers' mouthpieces for electronic
Principal Register          cigarettes

                            FIRST USE 8-11-2021; IN COMMERCE 8-11-2021

                            THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
                            ANY PARTICULAR FONT STYLE, SIZE OR COLOR

                            SER. NO. 97-378,124, FILED 04-23-2022
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 88 of 115



         REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

       WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
              DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.


    Requirements in the First Ten Years*
    What and When to File:


        • First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
          years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
           registration will continue in force for the remainder of the ten-year period, calculated from the registration
           date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.


        • Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
          for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


    Requirements in Successive Ten-Year Periods*
    What and When to File:

        • You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
          between every 9th and 10th-year period, calculated from the registration date.*

    Grace Period Filings*

    The above documents will be accepted as timely if filed within six months after the deadlines listed above with the
    payment of an additional fee.

    *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
    extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use (or
    Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO). The
    time periods for filing are based on the U.S. registration date (not the international registration date). The
    deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for nationally
    issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations do not file
    renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying international
    registration at the International Bureau of the World Intellectual Property Organization, under Article 7 of the
    Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the date of the
    international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the international
    registration, see http://www.wipo.int/madrid/en/.

    NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
    USPTO website for further information. With the exception of renewal applications for registered
    extensions of protection, you can file the registration maintenance documents referenced above online at
    http://www.uspto.gov.

    NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
    owners/holders who authorize e-mail communication and maintain a current e-mail address with the
    USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
    Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
    available at http://www.uspto.gov.




                                               Page: 2 of 2 / RN # 7025651
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 89 of 115




               EXHIBIT "L"
 Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 90 of 115




Reg. No. 7,025,650          NEPA WHOLESALE INC (FLORIDA CORPORATION)
                            SUITE B9
Registered Apr. 11, 2023    4365 OKEECHOBEE BLVD
Int. Cl.: 34                WEST PALM BEACH, FLORIDA 33409
                            CLASS 34: Electronic cigarettes and oral vaporizers for smokers; Electronic cigarettes
Trademark                   for use as an alternative to traditional cigarettes; Smokers' mouthpieces for electronic
Principal Register          cigarettes

                            FIRST USE 7-10-2020; IN COMMERCE 7-10-2020

                            THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
                            ANY PARTICULAR FONT STYLE, SIZE OR COLOR

                            SER. NO. 97-378,101, FILED 04-23-2022
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 91 of 115



         REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

       WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
              DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.


    Requirements in the First Ten Years*
    What and When to File:


        • First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
          years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
           registration will continue in force for the remainder of the ten-year period, calculated from the registration
           date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.


        • Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
          for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


    Requirements in Successive Ten-Year Periods*
    What and When to File:

        • You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
          between every 9th and 10th-year period, calculated from the registration date.*

    Grace Period Filings*

    The above documents will be accepted as timely if filed within six months after the deadlines listed above with the
    payment of an additional fee.

    *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
    extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use (or
    Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO). The
    time periods for filing are based on the U.S. registration date (not the international registration date). The
    deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for nationally
    issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations do not file
    renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying international
    registration at the International Bureau of the World Intellectual Property Organization, under Article 7 of the
    Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the date of the
    international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the international
    registration, see http://www.wipo.int/madrid/en/.

    NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
    USPTO website for further information. With the exception of renewal applications for registered
    extensions of protection, you can file the registration maintenance documents referenced above online at
    http://www.uspto.gov.

    NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
    owners/holders who authorize e-mail communication and maintain a current e-mail address with the
    USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
    Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
    available at http://www.uspto.gov.




                                               Page: 2 of 2 / RN # 7025650
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 92 of 115




               EXHIBIT "M"
        Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 93 of 115



From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Tuesday, March 21, 2023 00:21 AM
To:                        LtsILP.ip@Gmail.com
Cc:                        NEPAWPB@GMAIL.COM
Subject:                   Official USPTO Notice of Allowance: U.S. Trademark SN 97378110: CUVIE PRO




                                                                         NOTICE OF ALLOWANCE (NOA)

                                                                            ISSUE DATE: Mar 21, 2023

U.S. Serial Number: 97378110
Mark: CUVIE PRO
Docket/Reference Number:

No opposition was filed for this published application. The issue date of this NOA establishes the due date for the filing of a Statement of Use (SOU) or a Request
for Extension of Time to file a Statement of Use (Extension Request). WARNING: An SOU that meets all legal requirements must be filed before a registration
certificate can issue. Please read below for important information regarding the applicant's pending six (6) month deadline.

SIX (6)-MONTH DEADLINE: Applicant has six (6) MONTHS from the NOA issue date to file either:
  - An SOU, if the applicant is using the mark in commerce (required even if the applicant was using the mark at the time of filing the application, if use basis was not
     specified originally); OR
  - An Extension Request, if the applicant is not yet using the mark in commerce. If an Extension Request is filed, a new request must be filed every six (6) months until the
     SOU is filed. The applicant may file a total of five (5) extension requests. WARNING: An SOU may not be filed more than thirty-six (36) months from when the NOA
     issued. The deadline for filing is always calculated from the issue date of the NOA.

How to file SOU and/or Extension Request:
Use the Trademark Electronic Application System (TEAS). Do NOT reply to this e-mail, as e-mailed filings will NOT be processed. Both the SOU and Extension Request have
many legal requirements, including fees and verified statements; therefore, please use the USPTO forms available online at https://www.uspto.gov/trademarks-application-
process/filing-online (under the "INTENT-TO-USE (ITU) FORMS" category) to avoid the possible omission of required information. If you have questions about this notice,
please contact the Trademark Assistance Center at 1-800-786-9199.

For information on how to (1) divide an application; (2) delete goods/services (or entire class) with a Section 1(b) basis; or (3) change filing basis, see
https://www.uspto.gov/trademarks-getting-started/process-overview/additional-information-post-notice-allowance-process.

FAILURE TO FILE A REQUIRED DOCUMENT OUTLINED ABOVE DURING THE APPROPRIATE TIME PERIOD WILL RESULT IN THE ABANDONMENT OF THIS
APPLICATION.

                                                            REVIEW APPLICATION INFORMATION FOR ACCURACY

If you believe this NOA should not have issued or correction of the information shown below is needed, you must submit a request to the Intent-to-Use Unit. Please use the
"Post-Publication Amendment" form under the "POST-APPROVAL/PUBLICATION/POST NOTICE OF ALLOWANCE (NOA) AMENDMENT FORMS" category, available at
https://www.uspto.gov/trademarks-application-process/filing-online/post-approvalpublicationpost-notice-allowance-noa. Do NOT reply to this e-mail, as e-mailed filings will NOT
be processed.

Serial Number:                                                  97378110
Mark:                                                           CUVIE PRO
Docket/Reference Number:
Owner:                                                          NEPA WHOLESALE INC
                                                                SUITE B9
                                                                4365 OKEECHOBEE BLVD
                                                                WEST PALM BEACH , FLORIDA 33409
Correspondence Address:                                         Lillian Taylor Stajnbaher
                                                                International Law Partners LLP
                                                                2122 Hollywood Blvd
                                                                Hollywood FL 33020


This application has the following bases, but not necessarily for all listed goods/services:
        Section 1(a): NO                          Section 1(b): YES                          Section 44(e): NO

                                                                GOODS/SERVICES BY INTERNATIONAL CLASS

034 -          Electronic cigarettes and oral vaporizers for smokers; Electronic cigarettes for use as an alternative to traditional cigarettes; Smokers' mouthpieces for electronic
               cigarettes -- FIRST USE DATE: NONE; -- USE IN COMMERCE DATE: NONE

                                                           ALL OF THE GOODS/SERVICES IN EACH CLASS ARE LISTED.




Appropriate Specimens for Goods and/or Services: A trademark specimen should be a label, tag, or container for the goods, or a display associated with the goods. See
TMEP §§904.03 et seq. A service mark specimen should be an advertisement, sign, brochure, website printout or other image that shows the mark used in the actual sale or
advertising of the services. See TMEP §§1301.04 et seq. For an instructional video on what is an appropriate trademark or service mark specimen for a good and/or service,
click here.
       Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 94 of 115

Fraudulent statements may result in registration being cancelled: Applicants must ensure that statements made in filings to the USPTO are accurate, as inaccuracies may
result in the cancellation of any issued trademark registration. The lack of a bona fide intention to use the mark with ALL goods and/or services listed in an application or the
lack of actual use on all goods and/or services for which use is claimed could jeopardize the validity of the registration, possibly resulting in its cancellation.

Additional information: For information on filing and maintenance requirements for U.S. trademark applications and registrations and required fees, please consult the USPTO
website at https://www.uspto.gov or call the Trademark Assistance Center at 1-800-786-9199.

Checking status: To check the status of this application, go to
https://tsdr.uspto.gov/#caseNumber=97378110&caseSearchType=US_APPLICATION&caseType=SERIAL_NO&searchType=statusSearch or contact the Trademark
Assistance Center at 1-800-786-9199. Please check the status of any application at least every three (3) months after the application filing date.

To view this notice and other documents for this application on-line, go to
https://tsdr.uspto.gov/#caseNumber=97378110&caseSearchType=US_APPLICATION&caseType=SERIAL_NO&searchType=documentSearch. NOTE: This notice will only be
available on-line the next business day after receipt of this e-mail.
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 95 of 115




               EXHIBIT "N"
      Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 96 of 115

                                                                                                           Skip to content | About Secretary Griswold | Español




For this Record...
File a form
Subscribe to email
notification
                                                            History and Documents
Unsubscribe from email
notification
Return to Summary
Subscribe to text
notification               Name:      HQD CUVIE PLUS                                                              Print-friendly version
Unsubscribe from text
notification               ID number: 20231905394

                                                       Found 1 matching record(s). Viewing page 1 of 1.
Business Home                                                                                                         Document #
Business Information     # Event                        Date Filed      Date Posted      EffectiveDate                                     Comment
                                                                                                                      (click to view)
Business Search
                         1 Trademark Registration       08/28/2023      08/28/2023       08/28/2023 09:00 PM          20231905394

FAQs, Glossary and
                          Return to Summary
Information




                                               Terms & conditions | Accessibility statement | Browser compatibility
  :
 Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 97 of 115


 SECRETARY OF STATE                                                         REGISTRATION NO.              : T-32037
                                                                            MARK TYPE                     : TRADEMARK
         Corporations Division                                              REGISTRATION DATE             : 09/05/2023
           313 West Tower                                                   EXPIRATION DATE               : 09/05/2033
     2 Martin Luther King Jr. Dr.                                           DATE MARK FIRST USED          : 07/10/2020
     Atlanta, Georgia 30334-1530                                            DATE FIRST USED IN GEORGIA    : 09/24/2020




                                  CERTIFICATE OF REGISTRATION
I, Brad Raffensperger, Secretary of State of Georgia, do hereby certify under seal of my office, that the mark
identified and described below has been registered under the laws of Georgia for a period of ten years, the dates of
registration and expiration as shown above. A facsimile of said mark is attached and recorded:

MARK:       HQD CUVIE PLUS

CLASS: 8

MARK DESCRIPTION:
  THE WORDS "HQD CUVIE PLUS" IN STANDARD CHARACTERS WITHOUT CLAIM TO ANY PARTICULAR
  FONT STYLE, SIZE, OR COLOR.

This mark is used in connection with:
   ELECTRONIC CIGARETTES; ORAL VAPORIZERS FOR SMOKERS

REGISTRANT:

   NEPA WHOLESALE INC
   4365 Okeechobee Blvd
   B6/B7
   West Palm Beach, FL 33409
   State of Formation: Florida


WITNESS my hand and official seal at the Capitol, in the City of Atlanta and the State of Georgia on 09/29/2023.
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 98 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 99 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 100 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 101 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 102 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 103 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 104 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 105 of 115
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 106 of 115
    Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 107 of 115




     HOME         BUSINESS SERVICES                   ELECTIONS             CIVICS AND EDUCATION

        Trademark Search
         Application for Registration of a Trademark


         Registration: 202309000                                            Date: 09-06-2023            Expiration date: 09-06-2033


         Registration information:
         Action: Registration


         Name of Registrant:         NEPA 2 WHOLESALE INC


         Address:

         Business name: (if different):

         Street (line 1): 3220 45TH STREET

         Street (line 2):

         City or town, State, Zip code, Country: WEST PALM BEACH,                   FL   33407


         Applicant type:

            Individual              Corporation               Limited Liability Company                  Limited Partnership

            Partnership             Sole Proprietor           Other:

         Other:


         If a business entity, the State/Country of organization is: FL

         Description of mark: HQD CUVIE PLUS - THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
         ANY PARTICULAR FONT STYLE, SIZE, OR COLOR


         Description of the specific goods or services in connection with which the mark is used:
         ELECTRONIC CIGARETTES; ORAL VAPORIZERS


         Class Number: 34


         Date of first use of mark: (a) Anywhere: 07-10-2020                (b) In Rhode Island: 06-05-2021


         Registration history information:

         Trans. Type     Reg. No.       Date          Registrant          Address                Type          Image
         Registration    202309000      09-06-2023    NEPA 2        3220 45TH STREET , Corporation             TRAD202309000_1.pdf
                                                      WHOLESALE INC WEST PALM
                                                                    BEACH, FL 33407


                                                                 Back to Search



                                           Business Services Division |     Rhode Island Department of State
:
    Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 108 of 115




    Back


Trademark Information

    Trademark Details
              Trademark Name: HQD CUVIE PLUS                                          File #: M0009289
               Trademark Type: Word Mark                                 Trademark Status: Active
             Registration Date: 8/30/2023                              First Adoption Date: 7/10/2020
                Expiration Date: 8/30/2033                                 Last Filing Date:
                                      HQD CUVIE PLUS - The mark consists of standard characters without claim to any
           Description of Mark:
                                      particular font style, size, or color
                   Mode of Use: On packaging for the goods


    Picture, Sketch, or Copy of the Trademark Itself

     S.No                File Name                                                      Description

     1                   HQD CUVIE PLUS..jpg


         Page 1 of 1, records 1 to 1 of 1



    Product Description

                                      Description of Goods : Electronic cigarettes; oral vaporizers
    Merchandise Class Code(s)



     S.No.                    Merchandise Class Code

     1                        Class 34 - Smoker's Products

    Picture, Sketch, or Copy of the Goods that the Trademark is to Represent

     S.No             File Name                                                              Description

     2                HQDCUVIEPLUSspecimen.png


         Page 1 of 1, records 1 to 1 of 1
:
    Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 109 of 115

    Ownership Information

                              Name : NEPA 2 WHOLESALE INC

                     Street Address : 3220 45th Street, WEST PALM BEACH, FL, 33407, USA
                   Mailing Address : 3220 45th Street, WEST PALM BEACH, FL, 33407, USA
                              Email : info@nepawholesale.com

                               Type : UnRegistered Entity



          General Nature of Owner's     NAICS Code           NAICS SubCode
                         Business :
                                        42-Wholesale         4940-Tobacco and Tobacco Product Merchant
                                        Trade                Wholesalers



    Registered Business


    No registered business entities associated with this registration


     Back                                   Filing History   Return to Search
:
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 110 of 115




 CERTIFICATE OF TRADEMARK
 An application and true copies of a trademark have been filed in my office. The name and address of
 the entity/individual claiming ownership of said mark is:
 Nepa 2 Wholesale Inc
 3220 45th St
 West Palm Beach FL 33407

 The date claimed for the first use of the mark anywhere is: 07/10/2020
 The date claimed for the first use of the mark in West Virginia is: 06/30/2022
 The class of goods or services is: 34
 The date of expiration for the term of 10 years is: 09/18/2033
 The description of the mark and goods/services:
 HQV Cuvie Plus - The mark consists of standard characters without claim to any particular font
 style, size, or color

 https://erls.wvsos.gov

 The application is found to conform to the requirements of Chapter 47 of the West Virginia
 Code.Therefore, I hereby issue this



 TRADEMARK
 202300006436-28                                        Mac Warner
                                                        West Virginia Secretary Of State
                                                        Monday, September 18, 2023




 Secretary of State                                                             Phone: 304-558-6000
 Bldg.1, Suite 157-K                       202300006436-28                             866-767-8683
 1900 Kanawha Blvd. East                                                              Visit us online:
 Charleston, WV 25305-0770                                                           www.wvsos.com
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 111 of 115




                EXHIBIT "O"
 Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 112 of 115




Reg. No. 5,778,947         Shenzhen HQD Technology Co., Ltd. (CHINA LIMITED LIABILITY COMPANY)
                           302,bldg.e,minle technology park,meiban
Registered Jun. 18, 2019   Ave.,minzhi st.,longhua new dist.,
                           Shenzhen, CHINA 518000
Int. Cl.: 34               CLASS 34: Cigarette holders; Cigarettes containing tobacco substitutes, not for medical
                           purposes; Electronic cigarette boxes; Electronic cigarettes; Electronic hookahs; Electronic
Trademark                  cigars; Electronic smoking pipes; Flavorings, other than essential oils, for use in electronic
                           cigarettes; Liquid nicotine solutions for use in electronic cigarettes; Oral vaporizers for
Principal Register         smokers; Tobacco pipes; Electronic cigarettes for use as an alternative to traditional cigarettes

                           FIRST USE 10-11-2015; IN COMMERCE 10-11-2015

                           The mark consists of the stylized wording "HQD".

                           SER. NO. 87-883,385, FILED 04-19-2018
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 113 of 115



         REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
      WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
             DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

    Requirements in the First Ten Years*
    What and When to File:

         First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
         years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
         registration will continue in force for the remainder of the ten-year period, calculated from the registration
         date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

         Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
         for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


    Requirements in Successive Ten-Year Periods*
    What and When to File:

         You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
         between every 9th and 10th-year period, calculated from the registration date.*


    Grace Period Filings*

    The above documents will be accepted as timely if filed within six months after the deadlines listed above with
    the payment of an additional fee.

    *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
    extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
    (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
    The time periods for filing are based on the U.S. registration date (not the international registration date). The
    deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
    nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
    do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
    international registration at the International Bureau of the World Intellectual Property Organization, under
    Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
    date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
    international registration, see http://www.wipo.int/madrid/en/.

    NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
    USPTO website for further information. With the exception of renewal applications for registered
    extensions of protection, you can file the registration maintenance documents referenced above online at h
    ttp://www.uspto.gov.

    NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
    owners/holders who authorize e-mail communication and maintain a current e-mail address with the
    USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
    Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
    available at http://www.uspto.gov.




                                              Page: 2 of 2 / RN # 5778947
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 114 of 115




                EXHIBIT "P"
Case 1:23-cv-24247-JAL Document 1 Entered on FLSD Docket 11/06/2023 Page 115 of 115
